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                  Exhibit A
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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


 Philadelphia Yearly Meeting of the
 Religious Society of Friends, et al.,

                Plaintiffs,

 v.

 U.S. Department of Homeland                        Civil Case No. ___________
 Security, et al.,

                Defendants.



                        DECLARATION OF MICHAEL LEVI

      I, Michael Levi, declare under penalty of perjury, under 28 U.S.C. § 1746, that

the following is true and correct:

                          My knowledge of the Quaker faith

      1. I am a member of Adelphi Friends Meeting of the Religious Society of

         Friends, located in Adelphi, Maryland.

      2. I have been attending Adelphi Friends Meeting since the mid 1990s.

      3. I became a member of the meeting around 2004.

      4. I am currently a member of two committees: the Ministry and Worship

         Committee and the Change Group.




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5. I have served in various roles in Adelphi Friends Meeting in the past,

   including Clerk, Assistant Clerk, Treasurer, Assistant Treasurer, and as a

   member and often clerk of various other committees.

6. In addition to my thirty-plus years of worship, I have studied the Quaker

   faith extensively.

7. Over the years, I have taught a class on the core tenets of Quaker faith and

   practice between fifteen and twenty times. I have taught the class at

   Adelphi Friends Meeting, at a Friends School, and at the Friends General

   Conference—a yearly gathering of different Quaker groups and meetings.

8. There are four main branches of Quakerism: the liberal branch, the

   conservative branch, the Friends United Meeting, and the Evangelical

   Friends.

9. Adelphi Friends Meeting falls under the liberal branch. The name is not

   reflective of any political ideology.

10. The liberal branch of the Quaker faith has two distinguishing features.

   First, worship is unprogrammed, meaning that services are not conducted

   by any preacher or religious leader. Second, we have a diverse theological

   understanding. Although Quakerism came out of the Christian tradition,

   the liberal branch recognizes that many Friends do not consider themselves

   Christians.

11. Because the Quaker faith is not controlled or determined by any earthly

   authority, my understanding of the faith may differ from the understanding



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      of others. That being said, what follows is a description of the faith that I

      believe generally holds true in the liberal branch of Quakerism.

                            Core tenets of the faith

  12. There are four core insights into what it means to be a Quaker: encounter,

      worship, discernment, and testimony.

Encounter

  13. Quakers believe that humans can and do experience God directly—known

      as “encounter.”

  14. We have no human who directs our spiritual development. There is no

      creed, no catechism, and no canonical statement of belief.

  15. We believe that, at any given time, any given person may experience the

      divine. And that person may receive a message that is intended to be shared

      broadly.

  16. Put another way, everyone who enters the door to a meeting house may be a

      source of divine revelation.

  17. We believe that different life experiences lead people to hear and

      understand the Spirit of God in somewhat different ways. So having a

      diversity and richness of human experience gives us a richer, fuller

      understanding of how God is speaking to us individually and as a

      community.

  18. It is essential for our spiritual development to be able to hear God’s word, no

      matter who it comes from.



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Worship

  19. Quakers have developed practices that encourage that encounter—known as

      “worship.”

  20. In our scheduled, regular worship, we gather—generally in the Meeting

      House—and sit in expectant waiting.

  21. To some, it might look like we are sitting silently, not doing anything. In

      fact, there is a great deal happening that is not visible or audible. Every

      person is quieting their mind and emotions, making space for God to enter.

  22. For some, God enters and delivers a message that is personal.

  23. For some, God enters and delivers a message that is intended to be shared

      with the rest of the worshippers. When someone receives that kind of

      message, they stand and speak, sharing that message with the rest of the

      Meeting. That is called vocal ministry.

  24. Vocal ministry can come from anyone, no matter their background or how

      long they have been a worshipping Quaker.

  25. The communal aspect of worship is central to the exercise of the Quaker

      faith. There are meetings that people refer to as “gathered meetings.” In a

      gathered meeting, there is a feeling among everyone in the room that we are

      truly together in that moment. It just happens—there is a deep spiritual

      bond and a love for everyone in the meeting that spring from our communal

      togetherness. At the end of a gathered meeting, it is obvious to everyone in

      the room that something special has happened.



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Discernment

  26. Third, we have developed practices to help understand that encounter—

     known as “discernment.”

  27. Discernment is the process of interpreting God’s will and making decisions.

     Such decisions may be personal or may be for the sake of the community.

  28. In any kind of meeting, we make space for God to enter. For example,

     whatever the topic being discussed, we regularly pause for silent worship.

  29. Our religious exercise is not limited to our regularly scheduled worship

     meetings. Because of discernment, our meetings for decision making are

     acts of worship too. That is because during our decision making, God is

     present. We call these “Meetings for Worship for the Conduct of Business.”

     Our decision-making process is an attempt to determine how the presence of

     the divine is guiding the community.

Testimony

  30. Quakers are led to a particular way of living—known as “testimony.”

  31. Quakers believe in continuing revelation. That means that God has not

     finished speaking to humans. We do not believe that God is changing,

     instead we believe that because humans are developing, the way that God

     speaks to us changes to meet us where we are.

  32. As a result, some of our testimonies have changed over time. For example,

     Quakers used to refuse to use honorifics or titles and would also refuse to

     remove their hats.



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33. Some testimonies remain consistent. For example, Quakers are well-known

   for our peace testimony; most Friends oppose all war, for any reason. Most

   would describe themselves as pacifists.

34. Some Quakers use the acronym SPICES to help explain some core beliefs of

   Quaker testimony. SPICES stands for simplicity, peace, integrity,

   community, equality (both social and spiritual), and stewardship. SPICES is

   a way to help understand the development of the Quaker faith. It is not a

   creed or a set of rules for the faith going forward.

35. Community is very important to Quakers. Community stretches globally

   and is not limited to members of the Quaker faith.

36. We believe that living our values requires us, among other things, to be

   truthful at all times.

                My worship at Adelphi Friends Meeting

37. I regularly attend weekly worship at the Adelphi Friends Meeting House.

38. I appreciate that the Meeting offers a Zoom option, especially for members

   who are house-bound or unable to physically attend. Sometimes I attend

   remotely. But attending worship in the Meeting House is a much more

   powerful religious experience.

39. Our weekly worship meeting starts with approximately 10 minutes of

   singing hymns together. The hymns have long been one of my favorite parts

   of the weekly worship meeting.




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40. After we finish singing the hymns, we settle into worship. In worship, we sit

    facing the center of the room. We sit silently, allowing space for God to

    enter. When someone is moved to share vocal ministry, they share it aloud

    and then we return to sitting silently.

41. It can be difficult to enter the state of mind that I need to receive messages

    from God. It requires bringing my mind to a place of stillness.

42. When I am able to still my mind, I enter a state that is hard to describe, but

    there is a sense of being untethered or weightless.

43. When I quiet my mind in worship, it gives me energy and replenishes me.

44. Sometimes, the state of worship goes far beyond mere replenishment. In

    those moments, I am not alone. There is at least one additional presence

    with me, the presence of God. Sometimes, in addition to the presence of God,

    I feel the spiritual presence of the others who are physically in the room

    with me.

45. In silent worship, I often receive insights that I have not had before. I see

    things in a new way. Sometimes I have hope for, or understanding of, a

    problem that seemed intractable. Often I have a profound feeling of love,

    hope, warmth, and kindness.

46. I frequently feel the presence of God during worship, but I do not frequently

    engage in vocal ministry. I engage in vocal ministry when I feel that I have

    received a message that isn’t just for me, but is intended to be shared with

    others.



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47. Sometimes I have sat down after delivering vocal ministry and not

   remembered what I said. In those moments, I feel like I was a simple

   conduit or channel for a message from God.

48. Vocal ministry from others affects my worship. When I listen to others

   deliver messages, the messages will often send me down a new path of

   thought, evoke a new feeling, or offer me insight.

49. Those who are sitting quietly and do not engage in vocal ministry are

   actively participating in our communal worship. Speaking is just one

   expression of worship. Sitting quietly in Quaker worship is not a passive

   silence. Sitting quietly is part of the centering and the communion that we

   are sharing, which is, to me, more important than the messages.

50. The worship portion of our weekly services usually lasts about an hour,

   although depending on the circumstances, it can go longer.

51. I am frequently surprised that the time for worship is over because it has

   passed so quickly.

52. After worship, we share “joys and concerns.” This is a time for personal

   sharing, including requests to the community to hold someone in the

   Light—the Quaker version of praying for somebody.

53. After sharing joys and concerns, the person who is serving as the clerk for

   that specific meeting for worship ends the worship and people begin to

   shake hands and greet one another. This is followed by announcements. As

   part of the announcements, the clerk of the Outreach and Fellowship



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   committee tells everyone that the Meeting always makes available at least

   one person to speak with anyone, especially newcomers, to explain Quaker

   worship. The clerk of the Hospitality committee also announces the weekly

   potluck that immediately follows worship. And recently children have begun

   to share what they learned that day in First Day School—the Quaker

   equivalent of Sunday School.

              Adelphi Meeting’s community interactions

54. In addition to being open to all, Adelphi Friends Meeting and its members

   engage directly with our local community in a host of ways.

55. The Meeting House has an annual Strawberry Festival. The festival

   includes a used-clothing sale, household goods, games, food, and more.

   Many members of our local community who are not Quakers and who do not

   attend our Meeting attend the festival.

56. Unofficial community engagement by members of Adelphi Friends Meeting

   is supported by the Meeting and our members. These various community

   engagements often result in non-Members learning about our Meeting.

57. For example, members of Adelphi Friends Meeting have volunteered at the

   local public school over the years.

58. Likewise, a Member of the Meeting is from Kenya. Through learning about

   that Member’s background and work, a group of Members worked to raise

   money for a Kenyan village.




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 The importance of worship with all comers, including immigrants

59. Because Quaker worship is rooted in a communal experience, restrictions on

   who attends is a significant harm to our religious experience.

60. Our worship is open to all comers—no matter their status. We firmly believe

   that one’s life experience affects how one hears the spirit and what

   conclusions one might draw. So a diversity of worshippers allows us to

   experience God in a broader, more encompassing way.

61. Members who are Christ-centered deeply believe in Jesus’s admonitions to

   welcome the stranger and to love thy neighbor.

62. I am aware that being welcoming of others and having an open door is core

   to religious traditions spanning centuries and continents.

63. Welcoming anybody and everybody is a core religious belief of mine.

64. The importance of welcoming immigrants to our worship is not simply a

   theoretical value. Over the years, we have had a large number of

   immigrants come to worship. For example, significant numbers of people

   from Kenya and Burundi have worshipped at Adelphi Friends Meeting.

65. Our Meeting has been enriched by the presence of these immigrants. We

   have had experiences that we would certainly not have had if immigrants

   did not join us for worship.

66. Having immigrants worship with us has made an enormous difference to

   who we are as individuals and as community.




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67. Dissuading immigrant members of our community from attending worship

   seriously harms Adelphi Friends Meeting, its members, and anyone who

   attends worship. It lessens our ability to hear God and what God is trying to

   tell us.

68. I believe that the threat of immigration enforcement at houses of worship,

   including the Adelphi Friends Meeting House, dissuades people from

   attending. That greatly harms our worship.

69. Government enforcement actions that stops people from entering our

   meeting house—or scares them from doing so—affects us personally,

   viscerally, emotionally, and theologically.

70. Knowing that immigration enforcement could happen at our Meeting

   House, I will not be as encouraging of immigrants joining us for worship. As

   much as their presence would be a benefit to my religious experience (and to

   Adelphi Friends Meeting broadly), I do not feel comfortable knowing that

   their attendance could bring them severe personal harm—regardless of

   their legal status, into which I would never inquire.

71. The threat of immigration enforcement presents additional harms to our

   worship.

72. We believe deeply in peace and many Quakers are pacifists. As an example,

   many Quakers do not take the decision to call the police lightly because it

   means calling an armed person to intervene.




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73. Having armed law-enforcement officers inside or outside of our house of

   worship would hamper our ability to connect to God. It would be distracting

   and threatening. And for many, including me, the mere threat of that

   presence would be enough to harm our religious practice.



  Silver Spring, Maryland
  January 25, 2025




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